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                          IN THE LINITED STATES DISTRICT           COURT             CLERK-LAS             CN

                            FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF         AMERICA,             )
                                               )
               Plaintifr,                      )       CRIMINAL     No. >a     - b3 I                  trtV t<
                                               )
        vs.                         )                  Count l: 18 U.S.C. $ 1513(a)(1)(B):
                                    )                  Retaliating Against a Witness, Victim, or
 ROBERT PADILLA, a.k.a. "Fat Head," )                  Informanq tg U.S.C. $ 2: Aiding and
 and GARY COCA,                     )                  Abetting;
                                    )
           Defendants.              )                  Count 2:2LU.S.C. $ 8a8(e)(1)(A):
                                    )                  Killing While Engaged in Drug
                                    )                  Trafficking; 18 U.S.C. $ 2: Aiding and
                                    )                  Abetting;
                                               )
                                               )       Count 3: l8 U.S.C. $ 92a(c)(lXAXii),
                                               )       (iiD, and92aQ)(1): Using, Carrying and
                                               )       Brandishing a Firearm During and in
                                                       Relation to a Drug Trafficking Crime;
                                                       Possessing and Brandishing a Firearm in
                                                       Furtherance of Such Crime; Discharging
                                               )       Said Firearm; and Causing Death Through
                                                       Use or Possession of a Firearm; 18 U.S.C.
                                                       $ 2: Aiding and Abetting;

                                                       Count 4: 18 U.S.C. $ l5l2(a)(2)(C):
                                                       Witness Tampering; 18 U.S.C. $ 2:
                                                       Aiding and Abetting.

                                    INDICTMENT
The Grand Jury charges:

                                          Count    1




                     Retaliation Against a Witness. Victim. or Informant

       On or about July 22,2019, in San Miguel County, in the District of New Mexico, the

defendants, ROBERT    PADILLA, a.k.a. "Fat Head,"        and   GARY COCA, killed L.L. with the
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 intent to retaliate against L.L. for providing to a law enforcement officer information relating to

 the commission and possible commission of a federal offense.

        In violation 18 U.S.C. $$ 1513(a)(1)(B) and 2.

                                                   Count 2

                             Killing While Engaged in Drug Trafficking

        From on or about September       17   , 2018, and continuing to on or about September I 0,

 2019, in Bernalillo County, in the District of New Mexico, and elsewhere, the defendant,

 ROBERT PADILLA, a.k.a. "Fat Head," while engaged in an offense punishable under 21

 U.S.C. $ 841(bXl)(A), to wit: conspiracy to distribute a controlled substance, which offense

 involved (a) 5 kilograms and more of a mixture and substance containing a detectable amount of

 cocaine, (b) 280 grams and more of a mixture and substance containing a detectable amount           of

cocaine base, (c)   I kilogram   and more of a mixture and substance containing a detectable amount

of heroin, and (d) 400 grams and more of a mixture and substance containing a detectable

amount of fentanyl (N-phenly-N-[1-(2-phenylethly)-4-piperidinly] propenamide), knowingly and

intentionally killed and caused the intentional killing of another person, L.L., and such killing

resulted.

        In violation of 21 U.S.C. $ 8a8(e)(1)(A) and 18 U.S.C. $ 2.

                                                   Count 3

                  Using. Carrying. Brandishing. and Dischareing a Firearm During and in
Relation to a Crime of Violence or Drue Trafficking Crime and Causing Death Through Use of the Firearm

        On or about July 22,2079, in San Miguel County, in the District of New Mexico, the

defendant, ROBERT       PADILLA, a.k.a. "Fat Head," knowingly           used, carried, brandished, and

discharged a firearm, during and in relation to a crime of violence and a drug trafficking crime

for which the defendant may be prosecuted in a court of the United States, specifically,
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retaliation against a witness, victim, or informant as charged in Count 1 of this indictment, and

killing while engaged in drug trafficking   as charged in Count 2 of this indictment; possessed and


brandished said firearm in furtherance of such crimes, discharged said firearm; and in the course

of said offenses caused the death of L.L. through the use of a firearm, which such killing is a

murder as defined in 18 U.S.C. $ 111l(a).

       In violation of 18 U.S.C. $$ 92a(c)(lxAxii) and (iii), 924fr)(l), and2.

                                               Count 4

          Tampering With a Witness. Victim or lnformant by Physical Force or Threat

       On or about November 25,2020, in Cibola County, in the District of New Mexico, the

defendant, ROBERT     PADILLA, a.k.a. "Fat Headr"          used and attempted to use physical force

and the threat of physical force against John Doe with the intent to influence, delay, and prevent

John Doe from communicating with a law enforcement officer information relating to the

commission of federal offenses, that is, drug trafficking and the murder of a federal witness.

       All in violation of   18 U.S.C. $ 1512(a)(2)(C).

                                                       A TRUE BILL:


                                                           lsl
                                                          FOREPERSON OF THE GRAND JURY
